                   Case 18-12808-KG            Doc 55      Filed 12/26/18        Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )   Chapter 11
                                                                )
WHITE EAGLE ASSET PORTFOLIO, LP, et al.,1                       )   Case No. 18-12808 (KG)
                                                                )
                                    Debtors.                    )   (Jointly Administered)
                                                                )
                                                                )

                                           NOTICE OF SERVICE

          The undersigned hereby certifies that on December 21, 2018, a copy of CLMG CORP.

AND        LNV      CORPORATION’S               FIRST       REQUEST          FOR      PRODUCTION             OF

DOCUMENTS TO THE DEBTORS IN CONNECTION WITH THE MOTION OF

DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS (A) AUTHORIZING

THE USE OF CASH COLLATERAL, (B) PROVIDING ADEQUATE PROTECTION, (C)

MODIFYING THE AUTOMATIC STAY, AND (D) SCHEDULING A FINAL HEARING

was served upon the following individuals via electronic mail and first class mail:

          Richard M. Pachulski, Esq.
          Maxim B. Litvak, Esq.
          Ira D. Kharasch, Esq.
          Jeffrey N. Pomerantz, Esq.
          919 North Market Street, 17th Floor
          Wilmington, DE 19801




1
    The Debtors in these chapter 11 cases (collectively, the “Debtors”), along with the last four digits of each
    Debtor’s federal tax identification number, where applicable, include: White Eagle Asset Portfolio, LP (0691)
    (“White Eagle”); White Eagle General Partner, LLC (8312); and Lamington Road Designated Activity Company
    (7738). The location of the Debtors’ service address in these chapter 11 cases is 5355 Town Center Road, Suite
    701, Boca Raton, FL 33486.
             Case 18-12808-KG   Doc 55       Filed 12/26/18   Page 2 of 2



Dated: December 26, 2018           FOX ROTHSCHILD LLP
       Wilmington, Delaware
                                   /s/ Carl D. Neff
                                   Jeffrey M. Schlerf (No. 3047)
                                   Carl D. Neff (No. 4895)
                                   919 North Market St., Suite 300
                                   Wilmington, DE 19801
                                   Telephone: (302) 654-7444
                                   Facsimile: (302) 463-4971
                                   jschlerf@foxrothschild.com
                                   cneff@foxrothschild.com

                                    –and–

                                   Thomas E Lauria (admitted pro hac vice)
                                   Jesse L. Green (admitted pro hac vice)
                                   WHITE & CASE LLP
                                   Southeast Financial Center
                                   200 S. Biscayne Boulevard, Suite 4900
                                   Miami, FL 33131
                                   Telephone: (305) 371-2700
                                   Facsimile: (305) 358-5744
                                   tlauria@whitecase.com
                                   jgreen@whitecase.com
                                    –and–
                                   David M. Turetsky (admitted pro hac vice)
                                   Andrew T. Zatz (admitted pro hac vice)
                                   WHITE & CASE LLP
                                   1221 Avenue of the Americas
                                   New York, NY 10020-1095
                                   Telephone: (212) 819-8200
                                   Facsimile: (212) 354-8113
                                   dturetsky@whitecase.com
                                   azatz@whitecase.com
                                    –and–
                                   Jason N. Zakia (admitted pro hac vice)
                                   WHITE & CASE LLP
                                   227 West Monroe Street, Suite 3900
                                   Chicago, IL 60606-5055
                                   Telephone: (312) 881-5400
                                   Facsimile: (312) 881-5450
                                   jzakia@whitecase.com
                                   Attorneys for CLMG Corp.
                                   and LNV Corporation


                                         2
